
*642OPINION.
Lansdon:
The evidence is conclusive that some part, if not all, of the amounts disallowed by the respondent as ordinary and necessary expenses were incurred in defending the petitioner for violating a Federal law. This Board has heretofore decided the question here involved adversely to the contention of the petitioner. On the record here and upon the authority of many prior decisions, the determination of the respondent must be affirmed. Sarah Backer et al., Executors, 1 B. T. A. 214; John Stephens, 2 B. T. A. 724; Columbus Bread Co., 4 B. T. A. 1126; Bonnie Bros., Inc., 15 B. T. A. 1231.

Decision will be entered for the respondent.

